     Case 1:13-cr-00103-DAD-BAM Document 92 Filed 04/22/15 Page 1 of 2

                                                                                f(SPACE BELOW FOR FILING STAMP ONLY)

 1          ROGER D. WILSON SBN: 192207
           LAW OFFICE OF ROGER D. WILSON
 2                 2377 West Shaw Avenue, Suite 208
                        Fresno, California 93711
 3                    Telephone: (559) 233-4100
                       Facsimile: (559) 746-7200
                     Email: roger@wilson-law.com
 4

 5

 6   Attorney for Defendant, ALI MOSARAH

 7

 8

 9                               IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
10
                                                      ******
11
     UNITED STATES OF AMERICA,                             Case No.: 1:13-CR-00103-AWI-BAM –
12                                                         (002)
                        Plaintiff,
13
              v.                                           WAIVER OF APPEARANCE; ORDER.
14

15   ALI MOSARAH,

16                      Defendant.

17

18            TO THE UNITED STATES DISTRICT COURT; UNITED STATES

19            ATTORNEY’S OFFICE, BY AND THROUGH ITS REPRESENTATIVES:

20            Defendant ALI MOSARAH by and through his attorney, ROGER D. WILSON, hereby

21   applies to this Court for an Order waiving his appearance at the Status Conference currently

22   scheduled for April 27, 2015, at 1:00 p.m., before the Honorable Magistrate Judge Barbara A.

23   McAuliffe. This request is made because counsel for Mr. Mosarah requires additional time to

24   review and analyze the voluminous discovery (40 CD’s and 7,000 pages of documents) related

25   to this matter in order to explore a meaningful disposition of the case.

26              Therefore, in all likelihood, a further status hearing will be scheduled at the next

27   hearing.

28   ///
     Case 1:13-cr-00103-DAD-BAM Document 92 Filed 04/22/15 Page 2 of 2


 1            Mr. Mosarah has maintained regular and routine contact with his counsel, and gives his

 2   counsel full authority to act on his behalf at the next hearing. Mr. Mosarah has discussed the

 3   upcoming Status Conference with counsel and is satisfied that all relevant matters have been

 4   adequately reviewed and explained.

 5            Lastly, Mr. Mosarah’s counsel has discussed this waiver of appearance with counsel for

 6   the Government, who had no objection.

 7            It is hereby requested that Defendant ALI MOSARAH’S appearance at the April 27,

 8   2015, Status Conference be excused.

 9            Respectfully submitted,
10   Dated:        April 20, 2015          By:                  /s/ Roger D. Wilson
11                                                            ROGER D. WILSON
                                                      Attorney for Defendant ALI MOSARAH
12

13
                                                  --o0o--
14

15                                               ORDER
16            Defendant ALI MOSARAH’S request for a waiver of appearance came before this
17   Court and based thereon, and for GOOD CAUSE shown, the COURT ORDERS AS
18   FOLLOWS:
19            Defendant ALI MOSARAH is hereby excused from appearing at the Status Conference
20   currently scheduled April 27, 2015, at 1:00 p.m. before Judge McAuliffe.
21
     IT IS SO ORDERED.
22

23
        Dated:      April 22, 2015                           /s/ Barbara A. McAuliffe                 _
                                                       UNITED STATES MAGISTRATE JUDGE
24

25

26
27

28
